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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                              UNITED STATES DISTRICT COURT
                                                         for the
                                                                                                                4/29/2022
                                            Central District of California
                                                                                                                     jb

 United States of America

                 v.
                                                                   Case No.    2:22-mj-01685 -duty
 ERIK CISNEROS,
                                                                                                                    FILED
                                                                                                           CLERK, U.S. DISTRICT COURT
                 Defendant
                                                                                                            APRIL 29, 2022

                           CRIMINAL COMPLAINT BY TELEPHONE                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                                         BY:       AF       DEPUTY
                          OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of April 22, 2022, in the county of Los Angeles in the Central District of California, the

defendant(s) violated:

           Code Section                                            Offense Description

           18 U.S.C. § 2114(a)                                     Robbery of United States Mail and
                                                                   Property

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                /s/ Michael Durocher
                                                                                Complainant’s signature

                                                                      Michael Durocher, USPIS Postal Inspector
                                                                                 Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:             April 29, 2022
                                                                                       Judge’s signature

 City and state: Los Angeles, California                          Hon. Alka Sagar, U.S. Magistrate Judge
                                                                                     Printed name and title


AUSA: Dominique Caamano (x0492)
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                               AFFIDAVIT

I, Michael Durocher, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

             This affidavit is made in support of a criminal

complaint and arrest warrant against Erik Cisneros (“CISNEROS”)

for a violation of Title 18, United States Code, Section 2114(a)

(Robbery of United States Mail and Property).

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant, and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT

             I am a United States Postal Inspector assigned to the

Los Angeles Division of the United States Postal Inspection

Service (“USPIS”) and have been so employed since April 2017.           I

am currently assigned to the Los Angeles Mail Theft Team,

domiciled in Los Angeles, California, which investigates

violations of Federal law, including identity theft, mail theft,

wire fraud, mail fraud and bank fraud.
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             I received a Bachelor of Arts Degree in History and

Political Science from the University of Mary Washington in

2007.     I received twenty weeks of federal law enforcement

training at the Federal Law Enforcement Training Center in

Artesia, New Mexico and the Federal Air Marshal Academy in New

Jersey.    I served as a Federal Air Marshal with the Federal Air

Marshal Service for approximately seven years.         I received

twelve weeks of Basic Inspector Training at the Inspection

Service’s training academy in Potomac, Maryland, a federally

accredited law enforcement academy.       The training covered

various aspects of federal law enforcement, including the

investigation of the Subject Offenses.

             During my employment as a Postal Inspector, I have

participated in investigations involving the theft of mail,

identity theft, bank fraud, mail fraud, and wire fraud.          I have

interviewed witnesses and cooperating individuals regarding

theft of mail, identity theft, bank fraud, mail fraud, Arrow key

theft and wire fraud, and have read official reports of other

agents and officers regarding such interviews.         I have also been

a case agent in charge of specific investigations involving

identity theft, mail theft, bank fraud, and wire fraud.

             Through my training and experience, I have learned

that people who steal genuine and counterfeit Unites States

Postal Service Arrow keys use them to access mailboxes and mail

collection boxes to steal mail to further identity theft, access

device fraud, and bank fraud schemes.
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                    III. SUMMARY OF PROBABLE CAUSE

             On April 22, 2022, a United State Postal Service

(“USPS”) employee was delivering mail to the residence at 715

North Alpine Drive, Beverly Hills, California 90210 when a man,

later identified as CISNEROS, brandished a knife, and told the

USPS employee to “give me your arrow keys.”        The USPS employee

gave CISNEROS her USPS keys and CISNEROS fled on foot.          The USPS

employee stated that the man was an approximately twenty-year-

old, Hispanic male that wore a black sweatshirt and black pants.

             Surveillance footage showed the robber flee the area

and enter a black Toyota Camry (the “Camry”), which is

registered to CISNEROS’s father, A.C., at an apartment in

Chatsworth, California that he shares with CISNEROS, who is 23

years old.    On April 27, 2022, Beverly Hills Police Department

(“BHPD”) officers went to the apartment, saw the Camry there,

and spoke to the apartment manager, who confirmed that A.C. and

CISNEROS lived there, and who identified CISNEROS as the

individual shown in the surveillance footage of the robbery.

That night, BHPD officers executed a search warrant at the

apartment and found clothing matching that worn by the robber, a

folding knife, two USPS Arrow keys, a key to a postal truck, and

miscellaneous mail and debit cards in names not associated with

CISNEROS or A.C.    The next day, in a Mirandized interview,

CISNEROS admitted that he stole the two Arrow keys and the LLV

key from the USPS employee on April 22, 2022.
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                   IV. STATEMENT OF PROBABLE CAUSE

          Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.   Robbery of USPS Employee

          On April 22, 2022, a USPS employee was delivering mail

to the residence at 715 North Alpine Drive, Beverly Hills,

California 90210 when a man, later identified as CISNEROS,

brandished a knife, and told the USPS employee to “give me your

arrow keys.”   The USPS employee gave CISNEROS her USPS keys and

CISNEROS fled on foot.

          When US Postal Inspectors interviewed the USPS

employee, the USPS employee stated that CISNEROS was an

approximately twenty-year-old, Hispanic male that wore a black

sweatshirt and black pants.     In addition, the USPS employee

stated that CISERNOS was approximately 5’8” tall, thin build,

with brown eyes and curly black hair.       The USPS employee said

CISNEROS stole two USPS Arrow keys, one USPS Modified Arrow Lock

(MAL) key, and LLV key.     The USPS employee stated the serial

numbers for the Arrow keys were “31” and “78” and the serial

number for the MAL key was “D11.”

     B.   Surveillance Video of the Robbery

          Between April 22, 2022, and April 25, 2022, BHPD

officers recovered and reviewed video surveillance footage of

the robbery and CISNEROS fleeing the area.        On the video, the

officers saw CISNEROS approach the USPS employee in front of 715

North Alpine Drive, while CISNEROS held an item in his right
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hand that appeared to be a knife.      After a moment, the video

shows the USPS employee withdrew an item from her pocket and

gave the item to CISNEROS.     CISNEROS held onto the item and fled

on foot.

             Surveillance video then shows that CISNEROS ran on

foot through an alley way at the 800 block of North Foothill

Road.    The video shows that CISNEROS entered a black Toyota

Camry with California registration 6SCV418 (the Camry), which

was parked in the alley way off North Foothill Road and drove

out of the camera’s view.     The video shows that CISNEROS was

wearing a black hooded sweatshirt, black sweatpants, and black

Nike shoes with a large Nike “Swoosh” logo on the sides of the

shoes.

        C.   Identification of CISNEROS and Search of 10340 Canoga
             Ave Apt. 251, Chatsworth, California 91311

             By using law enforcement databases, BHPD officers

discovered that the Camry was registered to A.C. at 10340 Canoga

Ave Apt. 251, Chatsworth, California 91311 (the “Apartment”).

In addition, law enforcement researched open-source databases

and discovered that A.C. had a twenty-three-year-old son named

CISNEROS that was similar in age and description as the robbery

suspect.

             On April 27, 2022, BHPD officers identified the Camry

in the parking garage at the Apartment.       BHPD officers contacted

the building manager and the building manager confirmed that

A.C. and CISNEROS lived in the Apartment.        The officers

presented images of the robbery suspect to the building manager
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and the building manager positively identified the suspect as

CISNEROS.    The building manager told the officers that he had

seen CISCENROS wear the same or similar clothing at the

apartment complex.

             After speaking to the building manager, BHPD officers

knocked on the door of the Apartment and CISNEROS opened the

door.    The officers identified CISNEROS based on previous

booking photos and a driver license photo.        Officers approached

CISNEROS and took him into custody.       The officers asked CISNEROS

for consent to search the Apartment and the Camry, but CISNEROS

declined to give consent.

             Later that day, after CISNEROS was taken into custody,

BHPD obtained state search warrants for the Apartment and the

Camry.   That evening, BHPD officers executed the search

warrants.    BHPD officers did not find anything of evidentiary

value in the Camry.    Before officers searched the Apartment,

CISNEROS’ father, A.C., arrived.      A.C. told the BHPD officers

that CISNEROS primarily resided in the living room of the

Apartment.    In the living room area, BHPD officers found a black

zip up hooded sweatshirt, three pairs of black pants, a pair of

black Nike shoes, a folding knife, three USPS keys, and

miscellaneous mail and debit cards in names not associated with

CISNEROS.    Two of the USPS keys were Arrow keys.       The first

Arrow key had the serial number “31” inscribed on it.          The

second Arrow key had the serial number “78” inscribed on it.

The third key was a key to a LLV.      The two Arrow keys were
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inscribed with the same serial numbers as the keys that were

stolen from the USPS employee on April 22, 2022.

     D.    Interview of CISNEROS

           BHPD officers arrested CISNEROS on the evening of

April 27, 20222 and transported him to the Beverly Hills Police

Department.   Beverly Hills Police Department notified the United

States Postal Inspection Service of the arrest and Postal

Inspectors responded to the Beverly Hills Police Department to

interview CISNEROS.

           On April 28, 2022, at approximately 8:07 AM, law

enforcement read CISNEROS his Miranda rights and CISNEROS signed

an Advice of Rights form acknowledging that he understood his

rights.   Law enforcement asked CISNEROS where he was on Friday

April 22, 2022.    CISNEROS said he could not recall.       Law

enforcement told CISNEROS that they were investigating an armed

robbery of USPS employee and they believed that he was the

individual that committed the robbery.       They showed CISNEROS two

images from the video surveillance recording of the robbery.

CISNEROS acknowledged that he was the individual shown in the

surveillance committing the robbery.       CISNEROS said that he saw

the USPS employee and said “give me the keys.”         When the USPS

employee gave him the USPS keys, CISNEROS said he ran back to

the Camry, which was in an alley way.       CISNEROS said the Camry

belonged to A.C.    CISNEROS said that he robbed the USPS employee

to acquire the USPS keys and sell them for extra money.           When

law enforcement asked CISNEROS where he learned about the USPS

keys, he stated that he watched a YouTube video that said if
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someone stole the USPS keys and resold them, they could earn a

significant amount of money.      CISNEROS said the USPS keys that

officers found in the Apartment were the keys he stole on April

22, 2022.   In addition, CISNEROS said that the knife found in

the Apartment belonged to him.      CISNEROS said he did not intend

to scare or hurt the USPS employee during the robbery.

    V. TRAINING AND EXPERIENCE REGARDING MAIL, ARRROW KEYAND
                           IDENTITY THEFT

            Based on my training and experience and information

obtained from other law enforcement officers who investigate

mail and identity theft, I know the following:

            a.   People who steal genuine and counterfeit Unites

States Postal Service Arrow keys use the keys to access

mailboxes and mail collection boxes to steal mail to further

identity theft, access device fraud, and bank fraud schemes.

            b.   People who steal mail are often involved in fraud

and identity theft crimes.     These individuals usually steal mail

looking for checks, access devices, other personal identifying

information (such as names, Social Security numbers, and dates

of birth), and identification documents that they can use to

fraudulently obtain money and items of value.        Mail thieves

often retain these items of value from stolen mail in order to

make fraudulent purchases or sell the items to others in

exchange for cash or drugs.

                             VI. CONCLUSION

            For all of the reasons described above, there is

probable cause to believe that CISNEROS has committed a
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violation of Title 18, United States Code, Section 2114(a)

(Robbery of United States Mail and Property).



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                  29th day of
telephone on this ____
April
_________, 2022.



THE HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE
